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 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )       2:08-CR-00090-EJG
                                      )
12                  Plaintiff,        )       APPLICATION AND ORDER FOR
                                      )       MONEY JUDGMENT
13        v.                          )
                                      )
14   MANUEL MEJIA ORDONEZ,            )
                                      )
15                  Defendant.        )
                                      )
16
17        On or about February 19, 2010, defendant Manuel Mejia Ordonez
18   entered a guilty plea to Count One of the Indictment, which charges
19   him with Conspiracy to Commit Mail Fraud and Identity Theft in
20   violation of 18 U.S.C. §§ 371, 1341, 1028(a)(7) and 1028(f).
21        As part of his plea agreement with the United States, defendant
22   Manuel Mejia Ordonez agreed to forfeit voluntarily and immediately
23   up to $3,000,000, as a personal money judgment pursuant to Fed. R.
24   Crim. P. 32.2(b)(1), which reflects a reasonable compromise between
25   the parties for forfeiture purposes concerning the proceeds the
26   defendant obtained as a result of a violation of 18 U.S.C. §§ 371,
27   1341, 1028(a)(7) and 1028(f), to which he has pled guilty.                 See
28   Defendant Odonez’ Plea Agreement ¶ II.C.        Plaintiff hereby applies

                                          1        Application and Order for Money Judgment
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 1   for entry of a money judgment as follows:
 2         1.   Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c),
 3   18 U.S.C. § 982(a)(2)(B), and Fed. R. Crim. P. 32.2(b)(1), the Court
 4   shall impose a personal forfeiture money judgment against defendant
 5   Manuel Mejia Ordonez in the amount of $3,000,000.
 6         2.   The above-referenced personal forfeiture money judgment is
 7   imposed based on defendant Manuel Mejia Ordonez’ conviction for
 8   violating 18 U.S.C. §§ 371, 1341, 1028(a)(7) and 1028(f)(Count One).
 9   Said amount reflects a reasonable compromise between the parties for
10   forfeiture purposes concerning the proceeds the defendant obtained,
11   which the defendant agreed is subject to forfeiture based on the
12   offense of conviction.     Any funds applied towards such judgment
13   shall be forfeited to the United States of America and disposed of
14   as provided for by law.
15         3.   Payment of the personal forfeiture money judgment should be
16   made in the form of a cashier’s check made payable to the U.S.
17   Department of the Treasury and sent to the U.S. Attorney’s Office,
18   Att: Asset Forfeiture Unit, 501 I Street, Suite 10-100, Sacramento,
19   CA 95814.    Prior to the imposition of sentence, any funds delivered
20   to the United States to satisfy the personal money judgment shall be
21   seized and held by the U.S. Department of the Treasury, Internal
22   Revenue Service-Criminal Investigation, in its secure custody and
23   control.
24   DATED: 3/4/10                           BENJAMIN B. WAGNER
                                             United States Attorney
25
26                                           /s/ Samantha S. Spangler
                                             SAMANTHA S. SPANGLER
27                                           Assistant U.S. Attorney
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 1                                   O R D E R
 2        For good cause shown, the Court hereby imposes a personal
 3   forfeiture money judgment against defendant Manuel Mejia Ordonez in
 4   the amount of $3,000,000.    Any funds applied towards such judgment
 5   shall be forfeited to the United States of America and disposed of
 6   as provided for by law.    Prior to the imposition of sentence, any
 7   funds delivered to the United States to satisfy the personal money
 8   judgment shall be seized and held by the U.S. Department of the
 9   Treasury, Internal Revenue Service-Criminal Investigation, in its
10   secure custody and control.
11        IT IS SO ORDERED.
12   DATED: March 16, 2010            __/s/ Edward J. Garcia ____
                                      EDWARD J. GARCIA
13                                    United States District Judge
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                                        3         Application and Order for Money Judgment
